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October 2, 2018

U.S. Senate Debate Criteria

A candidate must satisfy all of the following criteria, by October 19, 2018, to be eligible to participate in
the U.S. Senate Debate on October 30, 2018, hosted by the consortium of WCVB, The Boston Globe,
UMass and Western Mass News (collectively, the “Consortium.”)

    1. Qualified Candidate. Candidates must meet all legal requirements of the State of Massachusetts
       to appear on the ballot and must be eligible to hold the office of United States Senator.
    2. Campaign Organization and Activity. The candidate must have clear evidence of a formal
       campaign, including (i) the presence of a campaign headquarters, (ii) campaign staff other than
       the candidate, (iii) regular and consistent public campaign appearances throughout the election
       cycle, and (iv) relevant coverage from various news platforms
    3. Polling Threshold. At least 10 percent of people surveyed in two recent (i.e. post primary)
       independent polls must express their support for the candidate in the general election. The
       independent polls must be conducted by reputable media outlets or institutions (as determined
       by the Consortium) and published by October 19, 2018.
    4. Fundraising. The candidate’s campaign must have raised a minimum of $50,000 in individual
       contributions during the course of the election period.

The burden of proof for determination of participation in the debate will be on the candidate. The
consortium may require candidates to provide documentation and information to prove that they meet
all of the criteria.
